Fill in this information to identify the case:

United States Bankruptcy Court for the:

District of Arizona
Case number (if known)                                                      Chapter 7
                                                                                                                              Check if this an
                                                                                                                          amended filing



Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                         12/15
Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin a case
against a non-individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If more space
is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor's name and case number (if known).

Part 1:     Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed
1. Chapter of the Bankruptcy           Check one:
   Code

                                              Chapter 7
                                              Chapter 11
Part 2: Identify the Debtor
 2. Debtor's name     Alkaline 88, LLC

3. Other names you
   know the debtor
   has used in the last
   8 years

     Include any
     assumed names,
     trade names, or
     doing business as
     names.

4. Debtor's federal Employer
   Identification Number (EIN)
                                        Unknown
                                       EIN

 5. Debtor's address        Principal place of business                                       Mailing address, if different

                            8541 E. Anderson Drive, Suite 100
                            Number               Street                                           Number            Street

                                                                                                  P.O. Box
                            Scottsdale AZ 85255-0000
                            City                               State        Zip Code              City                           State           Zip Code

                                                                                                  Location of principal assets, if different from principal
                            Maricopa                                                              place of business
                            County
                                                                                                  Number        Street


                                                                                                  City                          State            Zip Code


6.    Debtor's website (URL)           thealkalinewaterco.com

7.    Type of debtor       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP)
                           Partnership (excluding LLP)
                           Other type of debtor. Specify:
8. Type of debtor's       Check one:
   business
                          Health Care Business (as defined in 11 U.S.C. § 101(27A)
                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B)

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                           Railroad (as defined in 11 U.S.C. § 101(44)
                           Stockbroker (as defined in 11 U.S.C. § 101(53A)
                           Commodity Broker (as defined in 11 U.S.C. § 101(6)
                           Clearing Bank (as defined in 11 U.S.C. § 781(3)
                           None of the types of business listed.
                           Unknown type of business.
9. To the best of
   your knowledge,
                           No
                           Yes. Debtor                                                                             Relationship
   are any
   bankruptcy cases
   pending by or                              District                             Date filed                       Case number, if known
   against any                                                                                  MM / DD / YYYY
   partner or affiliate
   of this debtor?

                                              Debtor                                                                Relationship
                                              District                             Date filed                       Case number, if known
                                                                                                MM / DD / YYYY

Part 3: Report About the Case
10. Venue              Check one:


                           Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of business, or principal assets
                             in this district longer than in any other district.
                           A bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district.


11.   Allegations         Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                          The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                          At least one box must be checked:

                           The debtor is generally not paying its debts as they become due, unless they are in the subject of a bona fide dispute as to liability or
                             amount.
                           Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or agent appointed or authorized to take
                             charge of less than substantially all of the property of the debtor for the purpose of enforcing a lien against such property, was
                             appointed or took possession.

12. Has there been a
    transfer of any
                           No
    claim against the      Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy Rule 1003(a).
    debtor by or to
    any petitioner?

13. Each petitioner's claim Name of petitioner                                      Nature of petitioner's claim                             Amount of the claim
                                                                                                                                             above the value of any
                                                                                                                                             lien
                                 Orangedale, LLC                                    Transportation services rendered                           $1206443.54
                                                                                                                                               $
                                                                                                                                               $
                                 Fest Logistics Co.                                 Warehouse services rendered                               $140000
                                                                                                                                              $
                                                                                                                                              $
                                 White Water II, LLC                                Manufacturing and warehouse services                      $117500
                                                                                    rendered
                                                                                                                                              $
                                                                                                                                              $
                                 48forty Solutions LLC                              Pallet services rendered                                  $182000
                                                                                                                                              $
                                                                                                                                              $
                                                                                                            Total of petitioners' claims $1645943.54
                                 If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor's
                                 name and the case number, if known, at top of each sheet. Following the format of this form,
                                 set out the information required in Parts 3 and 4 of the form for each statement under penalty
                                 of perjury set out in Part 4 of the form, followed by each additional petitioner's (or

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                                  representative's) signature, along with the signature of the petitioner's attorney.



 Part 4 Request for Relief
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a petitioning creditor is a
corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a foreign representative appointed in a foreign
proceeding, attach a certified copy of the order of the court granting recognition.

I have examined the information in this document and have a reasonable belief that the information is true and correct.
     Petitioners or Petitioners' Representative                                  Attorneys


Name and mailing address of petitioner
Orangedale, LLC                                                                          Randy Nussbaum
Name                                                                                     Printed name

3370 N. Hayden Road, Suite 282                                                           Sacks Tierney P.A.
Number         Street                                                                    Firm name, if any
Scottsdale AZ 85251-0000                                                                 4250 N. Drinkwater Blvd., 4th Floor
City                                       State            Zip Code                     Number      Street
                                                                                         Scottsdale AZ 85251-0000
Name and mailing address of petitioner's representative, if any                          City                                          State          Zip Code
Jason Dembow, President                                                                  Contact phone                                 Email   Randy.Nussbaum@
                                                                                                              480-425-2600                     SacksTierney.com
Name
                                                                                         Bar number      006417

3370 N. Hayden Road, Suite 282                                                           State           AZ
Number         Street
Scottsdale AZ 85257-0000
City                                       State            Zip Code

I declare under penalty of perjury that the foregoing is true and correct.
Executed on        December 11,
                    2023                                                                 /s/ Randy Nussbaum
                    MM / DD / YYYY                                                       Signature of attorney
                                                                                         Date signed       December 11, 2023
/s/ Jason Dembow, President                                                                                MM / DD / YYYY
Signature of petitioner or representative, including representative's title


    Petitioners or Petitioners' Representative                                       Attorneys


Name and mailing address of petitioner
Fest Logistics Co.                                                                       Randy Nussbaum
Name                                                                                     Printed name

4330 E. 26th Street                                                                      Sacks Tierney P.A.
Number         Street                                                                    Firm name, if any
Vernon CA 90058-0000                                                                     4250 N. Drinkwater Blvd., 4th Floor
City                                       State            Zip Code                     Number      Street
                                                                                         Scottsdale AZ 85251-0000
Name and mailing address of petitioner's representative, if any                          City                                          State          Zip Code
Wayne Mah, Director                                                                      Contact phone                                 Email   Randy.Nussbaum@
                                                                                                              480-425-2600                     SacksTierney.com
Name
                                                                                         Bar number      006417

4330 E. 26th Street                                                                      State           AZ
Number         Street
Los Angeles CA 90058-0000
City                                       State            Zip Code

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I declare under penalty of perjury that the foregoing is true and correct.
Executed on        December 11,
                    2023                                                         /s/ Randy Nussbaum
                    MM / DD / YYYY                                               Signature of attorney
                                                                                 Date signed     December 11, 2023
/s/ Wayne Mah, Director                                                                          MM / DD / YYYY
Signature of petitioner or representative, including representative's title


    Petitioners or Petitioners' Representative                                Attorneys


Name and mailing address of petitioner
White Water II, LLC                                                              Randy Nussbaum
Name                                                                             Printed name

301 S. 29th Street                                                               Sacks Tierney P.A.
Number        Street                                                             Firm name, if any
Phoenix AZ 85034-0000                                                            4250 N. Drinkwater Blvd., 4th Floor
City                                       State            Zip Code             Number     Street
                                                                                 Scottsdale AZ 85251-0000
Name and mailing address of petitioner's representative, if any                  City                                         State       Zip Code
Chris White, President                                                           Contact phone                                Email   Randy.Nussbaum@
                                                                                                     480-425-2600                     SacksTierney.com
Name
                                                                                 Bar number      006417

301 S. 29th Street                                                               State           AZ
Number        Street
Phoenix AZ 85034-0000
City                                       State            Zip Code

I declare under penalty of perjury that the foregoing is true and correct.
Executed on        December 11,
                    2023                                                         /s/ Randy Nussbaum
                    MM / DD / YYYY                                               Signature of attorney
                                                                                 Date signed     December 11, 2023
/s/ Chris White, President                                                                       MM / DD / YYYY
Signature of petitioner or representative, including representative's title


    Petitioners or Petitioners' Representative                                Attorneys


Name and mailing address of petitioner
48forty Solutions LLC                                                            Randy Nussbaum
Name                                                                             Printed name

11740 Katy Fwy, Suite 1200                                                       Sacks Tierney P.A.
Number        Street                                                             Firm name, if any
Houston TX 77079-0000                                                            4250 N. Drinkwater Blvd., 4th Floor
City                                       State            Zip Code             Number     Street
                                                                                 Scottsdale AZ 85251-0000
Name and mailing address of petitioner's representative, if any                  City                                         State       Zip Code
Matt Hunt, General Counsel                                                       Contact phone                                Email   Randy.Nussbaum@
                                                                                                     480-425-2600                     SacksTierney.com
Name
                                                                                 Bar number      006417

11740 Katy Fwy, Suite 1200                                                       State           AZ
Number        Street
Houston TX 77079-0000
City                                       State            Zip Code

I declare under penalty of perjury that the foregoing is true and correct.
Executed on        December 11,                                                  /s/ Randy Nussbaum
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                    2023
                    MM / DD / YYYY                                            Signature of attorney
                                                                              Date signed     December 11, 2023
/s/ Matt Hunt, General Counsel                                                                MM / DD / YYYY
Signature of petitioner or representative, including representative's title




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